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 8                           UNITED STATES BANKRUPTCY COURT

 9                        NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN JOSE DIVISION

11    In re                                           Case No. 21-50028-SLJ
                                                      Chapter 7
12    EVANDER FRANK KANE,
                                                      DEBTOR’S RESPONSE TO
13                                                    OBJECTION TO HOMESTEAD
      Debtor.
                                                      EXEMPTION FILED BY ZIONS
14                                                    BANCORPORATION, N.A1
15                                                    Hearing:
16                                                    Date: May 4, 2021
                                                      Time: 2:00 p.m. Pacific Time
17                                                    Place: Via Zoom videoconference

18                                                    Please check www.canb.uscourts.gov for
                                                      information regarding the Court’s operations
19
                                                      due to the COVID-19 pandemic.
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              Unless specified otherwise, all chapter and code references are to the Bankruptcy Code,
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     11 U.S.C. §§ 101–1532. “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy
28   Procedure and “B.L.R.” references are to the Bankruptcy Local Rules for the Northern District of
     California. “ECF” references are to the docket in this proceeding.
     RESPONSE TO HOMESTEAD OBJECTION                                                                 1

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 1          Evander F. Kane (“Kane”), the debtor in this bankruptcy case, provides the following

 2   limited response to the Objection to Homestead Exemption (the “Objection”) filed by Zions

 3   Bancorporation N.A. (“Zions”) to Mr. Kane’s asserted homestead exemption. A more

 4   substantive response to the Zions’ objection may be filed, if required, at a later date.

 5          Zions filed the Objection (ECF 74) on March 25, 2021 and set the matter for hearing on

 6   May 4, 2021 (ECF 75). The Objection included a Certificate of Service (ECF 74-2), indicating

 7   that the Objection and related documents were served on: Debtor’s counsel, the Chapter 7

 8   Trustee and his counsel, the United States Trustee and counsel for creditor Lone Shark.

 9          Bankruptcy Rule 4003(b)(4) requires a party objecting to a claim of exemption to deliver

10   or mail a copy of the objection to the several parties, including the Debtor. Zions did not serve

11   Mr. Kane with the Objection. As such, the objection should be overruled.2

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      Dated April 27, 2021                        FINESTONE HAYES LLP
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14                                                /s/ Stephen D. Finestone
                                                  Stephen D. Finestone
15                                                Attorneys for Debtor,
                                                  Evander Frank Kane
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25            Professional Bank filed its own objection to Mr. Kane’s homestead exemption (ECF 79)
     and joined in Zions’ Objection (ECF 85). Professional Bank did not serve its objection on the
26   Mr. Kane either and it is therefore similarly infirm. Professional Bank also filed a pleading
     styled as an Objection by Professional Bank to Debtor’s Purported Claimed Exemption for
27
     Money Owed to Debtor by San Jose Sharks (ECF 80). This objection was not served on Mr.
28   Kane either, but as he has not asserted an exemption in his future wages, he does not intend to
     respond to this second objection filed by Professional Bank.
     RESPONSE TO HOMESTEAD OBJECTION                                                                     2

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